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 7
                               IN THE UNITED STATES DISTRICT COURT
 8
                                  FOR THE DISTRICT OF ARIZONA
 9
      Raymond Ortega,                                    No. CV-21-449-PHX-DJH
10
                                            Plaintiff,
11    v.                                                       NOTICE OF SETTLEMENT
12   Unum Life Insurance Company of America,
13                                       Defendant.
14
             The parties hereby give notice that they have negotiated a settlement in the above-
15
     referenced matter. Counsel for the parties are finalizing settlement and Plaintiff will file a
16
     Stipulation of Dismissal with Prejudice within 30 days.
17
             DATED June 24, 2021
18
                                          RONSTADT LAW, PLLC
19
20                                        By: s/ Erin Rose Ronstadt
                                                 Erin Rose Ronstadt
21                                               Clayton W. Richards
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                                                          Case 2:21-cv-00449-DJH Document 18 Filed 06/24/21 Page 2 of 2



                                                   1                                  CERTIFICATE OF SERVICE
                                                   2
                                                               I certify that on June 24, 2021 I electronically transmitted the foregoing to the Clerk’s
                                                   3   Office using the CM/ECF System for filing and transmittal of a Notice of Electronic Filing
                                                       to the following CM/ECF registrants:
                                                   4
                                                   5   Stephen M. Bressler
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